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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 SOPHIA PARKER STUDIOS, INC.                    Case No. 1:24-cv-02086-PAB
 (t/a WIFE NYC),
                                                Judge Pamela A. Barker
          Plaintiff,
                                                Magistrate Judge Reuben J. Shepherd
 v.

 ALICE TEMPERLEY MBE, TMLL LTD.
 (t/a TEMPERLEY LONDON), TEMPERLEY
 HOLDINGS LTD. (t/a TEMPERLEY
 HOLDINGS), ROMO LTD. (t/a ROMO
 and/or THE ROMO GROUP), ROMO
 (HOLDINGS) LTD., ROMO, INC. (t/a
 ROMO FABRICS AND
 WALLCOVERINGS and ROMO USA), THE
 ROMO GROUP LTD., AND DOES 1-20,
 inclusive,

          Defendants.


       [PROPOSED] ORDER GRANTING DEFENDANT ROMO, INC.’S MOTION TO
      DISMISS FIRST AMENDED COMPLAINT PURSUANT TO FEDERAL RULE OF
                         CIVIL PROCEDURE 12(b)(6)


        The Court, having reviewed and considered Defendant Romo, Inc.’s Motion to Dismiss

First Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6), is of the opinion

that good cause exists, and the Motion should be GRANTED in its entirety.

Entered on _____ day of ____________, 2025

                                           _______________________________________
                                           HONORABLE JUDGE PAMELA A. BARKER
